UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

REVLON CONSUMER PRODUCTS
LLC and ELIZABETH ARDEN, INC.,

Plaintiffs, Case No. 1:24-cv-06438-ER-RWL
-against-
VANESSA KIDD, DOMINICK ORDER

ROMEO, and REID MULVIHILL,

Defendants.

Pursuant to Federal Rule of Civil Procedure 41(a)(2), the joint stipulation to dismiss
this action with prejudice between Plaintiffs Revlon Consumer Products LLC and Elizabeth
Arden, Inc., and Defendants Vanessa Kidd, Dominick Romeo, and Reid Mulvihill
(collectively the “Individual Defendants”) is GRANTED.

IT IS HEREBY ORDERED the Individual Defendants be dismissed with prejudice

from this action, and the matter be closed.

Dated: May 5, 2025 ‘ ()

New York, New York FKL (a

Judge Edgardo Ramos

